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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION



 DONNA CURLING, et al.,
    Plaintiffs,
                                           Civil Action No. 1:17-CV-2989-AT
       v.

 BRAD RAFFENSPERGER, et al.,
     Defendants.


  DEFENDANTS’ RESPONSE TO PLAINTIFF DAVIS’S NOTICE OF
                   CHANGE IN LAW

       The Georgia General Assembly adopted several new provisions of

Georgia law that the Governor signed following the conclusion of the 2024

regular legislative session. That session concluded after the trial on this case

was complete. Plaintiff Davis provided his views on several pieces of legislation

at [Doc. 1849], without including all necessary context, as discussed below. For

the Court’s benefit, Defendants attach the language of each bill as an Exhibit

to this filing.

       I.     Response to Plaintiff Davis’s comments on SB 189.

       Senate Bill 189, attached as Ex. A, made a number of changes to Georgia

law that are unrelated to the use of the Dominion BMDs. But several sections

of the bill could be related to Plaintiffs’ claims and were not discussed by

Plaintiff Davis.



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      Section 6 provides, for the first time, that counties can use hand-marked

paper ballots for certain special elections with small numbers of voters. This

provision will go into effect on January 1, 2025. Ex. A, § 6. The legislation

makes the text portion of the paper ballot printed by a BMD “the official vote

for purposes of vote tabulation” and for any audit. Ex. A, § 7. This section also

eliminates QR Codes in Georgia elections starting in 2026. Both the official

vote section and the elimination of QR Code provisions become effective on July

1, 2026.1 Ex. A, § 7.

      Turning to scanned ballot images, the law creates a process for providing

scanned ballot images after January 1, 2025 at no less than 600 dots per inch

in response to a specific open records request and to allow county

superintendents to access ballots to create higher-resolution scans if needed.

Ex. A, § 10. Section 11 requires the Secretary of State to create a pilot program

to audit ballot images that verify the human-readable part of the ballot only.

Ex. A, § 11. This section goes into effect on July 1, 2024. Given the constraints

of a presidential election year, no pilot program has yet been created.

      While Plaintiff Davis claims that these changes will not result in relief

for 2024, there was no evidence at trial that any relief could be implemented

for the 2024 elections. If anything, SB 189 demonstrates that the General


1 Plaintiff Davis claims, without citation, that this date was set at the request

of the Secretary’s office.

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Assembly is fulfilling its role in the election system—using the political process

to “make crucial decisions.” FDA v. All. for Hippocratic Med., U.S. Case No. 23-

235 (June 13, 2024) slip op. [Doc. 1850-1] at 11 (quoting Schlesinger v.

Reservists Comm. to Stop the War, 418 U. S. 208, 227 (1974)).

        II.   Response to Plaintiff Davis’s comments on HB 974.

        House Bill 974, attached as Ex. B, also makes changes to Georgia

election law that are unrelated to the claims in this case. Those include adding

watermarks and security paper. Ex. B, §§ 1–2. As Plaintiff Davis correctly

identifies, the legislature added audit requirements, including adding

minimum risk limits and multiple contests to be audited. Ex. B, § 5. The

legislation also clarified that county officials can conduct additional audits if

they so choose. Id. The legislation also set minimum requirements related to

scanned ballot images, which is no longer a part of this litigation. Ex. B, §§ 3–

4, 6.

                                CONCLUSION

        Mr. Davis believes that these election-law changes ultimately do not

affect his claims. But they demonstrate clearly that Georgia’s elected officials

are “weighing the costs and benefits of various procedures” related to elections.

Curling v. Raffensperger, 50 F.4th 1114, 1126 (11th Cir. 2022). The changes

demonstrate that the Georgia General Assembly is the proper forum for




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hearing Plaintiffs’ policy disagreements about the election system and this

Court should dismiss the entirety of Plaintiffs’ claims.


      Respectfully submitted this 17th day of June, 2024.

 Vincent R. Russo                          /s/Bryan P. Tyson
 Georgia Bar No. 242628                    Bryan P. Tyson
 vrusso@robbinsfirm.com                    Georgia Bar No. 515411
 Josh Belinfante                           btyson@taylorenglish.com
 Georgia Bar No. 047399                    Diane F. LaRoss
 jbelinfante@robbinsfirm.com               Georgia Bar No. 430830
 Carey A. Miller                           dlaross@taylorenglish.com
 Georgia Bar No. 976240                    Bryan F. Jacoutot
 cmiller@robbinsfirm.com                   Georgia Bar No. 668272
 Alexander Denton                          bjacoutot@taylorenglish.com
 Georgia Bar No. 660632                    TAYLOR ENGLISH DUMA LLP
 adenton@robbinsfirm.com                   1600 Parkwood Circle, Suite 200
 Edward A. Bedard                          Atlanta, GA 30339
 Georgia Bar No. 926148                    Telephone: 678-336-7249
 ebedard@robbinsfirm.com
 Javier Pico Prats
 Georgia Bar No. 664717
 jpicoprats@robbinsfirm.com
 Anna Edmondson
 Georgia Bar No. 289667
 aedmondson@robbinsfirm.com
 Robbins Ross Alloy Belinfante
 Littlefield LLC
 500 14th Street, N.W.
 Atlanta, Georgia 30318
 Telephone: (678) 701-9381
 Facsimile: (404) 856-3255
                            Counsel for Defendants




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                    CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has

been prepared in accordance with the font type and margin requirements of

LR 5.1, using font type of Century Schoolbook and a point size of 13.


                                          /s/ Bryan P. Tyson
                                          Bryan P. Tyson




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